AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



                                        UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                                           JUDGMENT IN A CRIMINAL CASE
                                                                                   (For Revocation of Probation or Supervised Release)
          V.                                                                       (For Offenses Committed On or After November 1, 1987)



REBECCA CHRISTINE JORDAN LAYEL                                                     Case Num ber: DNCW 204CR000093-008
                                                                                   USM Num ber: 18753-058

                                                                                   Derrick R. Bailey
                                                                                   Defendant’s Attorney

THE DEFENDANT:

X         adm itted guilt to violation of condition(s) 1, 2, 3, 4 , 5, and 6 of the term of supervision.
          was found in violation of condition(s) count(s)             after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):



                                                                                                          Date Violation
 Violation Num ber               Nature of Violation                                                      Concluded

 1                               NEW LAW VIOLATION - NO OPERATOR’S LICENSE                                6/11/2012

 2                               DRUG/ALCOHOL USE                                                         6/14/2012

 3                               FAILURE TO COMPLY W ITH MENTAL HEALTH                                    4/26/2012
                                 TREATMENT REQUIREMENTS

 4                               FAILURE TO MAINTAIN LAW FUL EMPLOYMENT                                   5/26/2012

 5                               FAILURE TO REPORT CHANGE IN RESIDENCE                                    5/26/2012

 6                               UNSUCCESSFULLY DISCHARGED FROM McLEOD                                    8/24/2012
                                 RESIDENTIAL RE-ENTRY CENTER

       The Defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

          The Defendant has not violated condition(s)                         and is discharged as such to such violation(s) condition.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.

                                                                                   Date of Im position of Sentence: 12/6/2012

                                                                                            Signed: December 13, 2012




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                                                                  IM PRISONM ENT

        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
term of seven (7) m onths.




X         The Court m akes the following recom m endations to the Bureau of Prisons:

          - Participate in any available substance abuse treatm ent program and if eligible receive benefit of
            18 U.S.C. § 3621(e)(2).
          - Participate in any m ental health treatm ent program s that m ay be available.
          - Participate in any educational and vocational opportunities.
          - Designated to a facility able to follow up on tests ordered with regard to suspicion of breast cancer.
          - Participate in the Federal Inm ate Financial Responsibility Program .

X         The Defendant is rem anded to the custody of the United States Marshal.

          The Defendant shall surrender to the United States Marshal for this District:

                               as notified by the United States Marshal.

                                at___a.m . / p.m . on ___.

          The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                               as notified by the United States Marshal.

                                before 2 p.m . on ___.

                               as notified by the Probation Office.

                                                                        RETURN

          I have executed this Judgm ent as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.


__________________________________________
             United States Marshal


                                                    By: _______________________________________
                                                                  Deputy Marshal


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                                                              SUPERVISED RELEASE

          Upon release from im prisonm ent, the defendant shall be on supervised release for a term of thirty-six (36) m onths.

          The condition for m andatory drug testing is suspended based on the court’s determ ination that the defendant
          poses a low risk of future substance abuse.

                                                STANDARD CONDITIONS OF SUPERVISION

          The defendant shall com ply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.        The defendant shall not com m it another federal, state, or local crim e.
2.        The defendant shall refrain from possessing a firearm , destructive device, or other dangerous weapon.
3.        The defendant shall pay any financial obligation im posed by this judgment rem aining unpaid as of the com m encem ent of the sentence of
          probation or the term of supervised release on a schedule to be established by the C ourt.
4.        The defendant shall provide access to any personal or business financial inform ation as requested by the probation officer.
5.        The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.        The defendant shall not leave the W estern D istrict of N orth C arolina without the perm ission of the C ourt or probation officer.
7.        The defendant shall report to the probation officer in a m anner and frequency directed by the court or probation officer.
8.        A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of
          release from custody of the Bureau of Prisons.
 9.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.       The defendant shall support his or her dependents and m eet other fam ily responsibilities.
11.       The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities
          authorized by the probation officer.
12.       The defendant shall notify the probation officer within 72 hours of any change in residence or em ploym ent.
13.       The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or adm inister any
          narcotic or other controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.       The defendant shall participate in a program of testing and treatm ent or both for substance abuse if directed to do so by the probation officer,
          until such tim e as the defendant is released from the program by the probation officer; provided, however, that defendant shall subm it to a
          drug test within 15 days of release on probation or supervised release and at least two periodic drug tests thereafter for use of any controlled
          substance, subject to the provisions of 18:3563(a)(5) or 18:3583(d), respectively; The defendant shall refrain from obstructing or attem pting to
          obstruct or tam per, in any fashion, with the efficiency and accuracy of any prohibited substance testing or m onitoring which is (are) required as
          a condition of supervision.
15.       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or adm inistered.
16.       The defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any person convicted of a felony
          unless granted perm ission to do so by the probation officer.
17.       The defendant shall subm it his person, residence, office, vehicle and/or any com puter system including com puter data storage m edia, or any
          electronic device capable of storing, retrieving, and/or accessing data to which they have access or control, to a search, from tim e to tim e,
          conducted by any U .S. Probation Officer and such other law enforcem ent personnel as the probation officer m ay deem advisable, without a
          warrant. The defendant shall warn other residents or occupants that such prem ises or vehicle m ay be subject to searches pursuant to this
          condition.
18.       The defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it confiscation of any
          contraband observed by the probation officer.
19.       The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcem ent officer.
20.       The defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent agency without the perm ission
          of the C ourt.
21.       As directed by the probation officer, the defendant shall notify third parties of risks that m ay be occasioned by the defendant’s crim inal record
          or personal history or characteristics, and shall perm it the probation officer to m ake such notifications and to confirm the defendant’s
          com pliance with such notification requirem ent.
22.       If the instant offense was com m itted on or after 4/24/96, the defendant shall notify the probation officer of any m aterial changes in defendant’s
          econom ic circum stances which m ay affect the defendant’s ability to pay any m onetary penalty.
23.       If hom e confinem ent (hom e detention, hom e incarceration or curfew) is included you m ay be required to pay all or part of the cost of the
          electronic m onitoring or other location verification system program based upon your ability to pay as determ ined by the probation officer.
24.       The defendant shall cooperate in the collection of D N A as directed by the probation officer.
25.       The defendant shall participate in transitional support services under the guidance and supervision of the U.S. Probation Officer. The
          defendant shall rem ain in the services until satisfactorily discharged by the service provider and/or with the approval of the U.S. Probation
          O fficer.


ADDITIONAL CONDITIONS:

26.       Throughout the period of supervision the probation officer shall m onitor the defendant’s econom ic circum stances and shall report to the court,
          with recom m endations as warranted, any m aterial changes that affect the defendant’s ability to pay any court ordered penalties.
27.       Subm it to a m ental health evaluation and treatm ent program under the guidance and supervision of the U.S. Probation Office as m ay be
          recom m ended by a m ental health professional. R em ain in treatm ent and m aintain any prescribed m edications until satisfactorily discharged
          from the program and with the approval of the US P robation Office.




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                                                           SCHEDULE OF PAYM ENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

          A                    Lum p sum paym ent of $                        due im m ediately, balance due

                               not later than               , or
                               in accordance             (C),         (D) below; or

          B          X         Paym ent to begin im m ediately (m ay be com bined with                (C),     X (D) below); or

          C                    Paym ent in equal                  (e.g. weekly, m onthly, quarterly) installm ents of $           to
                               com m ence                  (e.g. 30 or 60 days) after the date of this judgm ent; or

          D          X         Paym ent in equal m onthly (E.g. weekly, m onthly, quarterly) installm ents of $ 50.00 to
                               com m ence 60 days (E.g. 30 or 60 days) after release from im prisonm ent to a term of
                               supervision. In the event the entire am ount of crim inal m onetary penalties im posed is not paid
                               prior to the com m encem ent of supervision, the U.S. Probation Officer shall pursue collection of the
                               am ount due, and m ay request the court to establish or m odify a paym ent schedule if appropriate
                               18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

          The defendant shall pay the cost of prosecution.
          The defendant shall pay the following court costs:
          The defendant shall forfeit the defendant’s interest in the following property to the United States:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a period of
im prisonm ent paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All crim inal
m onetary penalty paym ents are to be m ade to the United States District Court Clerk, 309 U.S. Courthouse, 100 Otis
Street, Asheville, NC, 28801, except those paym ents m ade through the Bureau of Prisons’ Inm ate Financial Responsibility
Program . All criminal m onetary penalty paym ents are to be m ade as directed by the court.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) fine interest, (6) com m unity restitution, (7) penalties, and (8) costs, including cost of prosecution and court
costs.




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                                                    STATEMENT OF ACKNOW LEDGMENT

I understand that m y term of supervision is for a period of _______m onths, com m encing on ____________________ .

Upon a finding of a violation of probation or supervised release, I understand that the court m ay (1) revoke supervision, (2)
extend the term of supervision, and/or (3) m odify the conditions of supervision.

I understand that revocation of probation and supervised release is m andatory for possession of a controlled substance,
possession of a firearm and/or refusal to com ply with drug testing.

These conditions have been read to m e. I fully understand the conditions and have been provided a copy of them .




(Signed)       ____________________________________ Date: _________________
                Defendant

(Signed)       ____________________________________ Date: _________________
                U.S. Probation Office/Designated W itness




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